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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 JUBILEE HEALTHCARE, INC.                         )
                                                  )
                         Plaintiff,               )
                                                  )
         vs.                                      )      Case No. 4:16-cv-2196
                                                  )
 BLUE CROSS BLUE SHIELD OF                        )
 ILLINOIS                                         )
                                                  )
                         Defendants

                                      NOTICE OF REMOVAL

        Defendant Blue Cross and Blue Shield of Illinois, a Division of Health Care Service

Corporation (“BCBSIL”), hereby removes Cause No. 16-JSC12-00248 from the Justice Court,

Precinct 1, Place 2, Fort Bend County, Texas to the United States District Court for the Southern

District of Texas pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, pursuant to federal question

jurisdiction.

                                            Background

        1.      On June 15, 2016, Plaintiff Jubilee Healthcare, Inc. (“Plaintiff”) filed a Petition in

the Justice Court, Precinct 1, Place 2, Fort Bend County, Texas against BCBSIL, in Cause No.

16-JSC12-00248 (the “State Court Action”). A copy of the Petition is included within the

Appendix hereto as Exhibit 2.

        2.      BCBSIL was served with the citation and Petition on June 24, 2016.

                                  Federal Question Jurisdiction

        3.      This action is removable under 28 U.S.C. § 1441 on the basis of a federal

question. ERISA provides for federal jurisdiction where one or all of a plaintiff’s claims against

a defendant arise under and are within the scope of 29 U.S.C. § 1132(a), the civil enforcement
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provision of ERISA. Congress intended for such claims brought in state court to be completely

preempted by federal law and tried in federal court, and the United States Supreme Court has

ruled that ERISA broadly preempts state law claims that relate to ERISA-governed plans. Pilot

Life Ins. Co. v. Dedeaux, 481 U.S. 41, 47 (1987).

       4.      Plaintiff seeks benefits under an employer-sponsored health benefits plan. See

Original Petition Small Claims.      Plaintiff’s claims thus “relate to” a benefit plan governed by

ERISA and are completely preempted by that statute’s civil enforcement scheme. See Aetna

Health Inc. v. Davila, 542 U.S. 200, 210 (2004); 29 U.S.C. § 1132(a)(1)(B).

               All Procedural Requirements for Removal Have Been Satisfied

       5.      Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81, true and correct copies of all

documents filed in the State Court Action are being filed with this Notice of Removal in the

Appendix.

       6.      This Notice of Removal has been filed within 30 days of the date that Defendant

was served with the citation and Petition in this matter.        Removal is therefore timely in

accordance with 28 U.S.C. § 1446(b).

       7.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a)

because the U.S. District Court for the Southern District of Texas is the federal judicial district

embracing the Justice Court, Precinct 1, Place 2 of Fort Bend County, Texas where the State

Court Action was originally filed.

                                            Conclusion

       By this Notice of Removal, Defendant does not waive any objections that it may have as

to service, jurisdiction or venue, or any other defenses or objections it may have to this action.




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Defendant intends no admission of fact, law or liability by this Notice, and expressly reserves all

defenses, motions and/or pleas.

Dated: July 22, 2016                                Respectfully submitted,


                                                    By:/s/ Andrew F. MacRae
                                                    ANDREW F. MACRAE
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                                                    Attorneys for Defendant
                                                    Blue Cross Blue Shield of Illinois


                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2016, I filed the foregoing Notice of Removal through
the CM/ECF system, and served a copy of the Notice of Removal on all parties of record, as
follows:

Via e-mail: jubileehhcr@yahoo.com
Chike R. Mbonu
3102 Aspen Hollow Lane
Sugar Land, Texas 77479




                                                              /s/ Andrew F. MacRae
                                                              Andrew F. MacRae




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